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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF PENNSYLVANIA

 

KYKO GLOBAL, INC. et al.,

Plaintiff, Civil Action No. 2:18-cv-1290
Vv. Hon. William S. Stickman, IV
PRITHVI INFO. SOLUTIONS, LTD. et al.,

Defendant.

 

 

MEMORANDUM OPINION AND ORDER
Pending before the Court are Plaintiffs’ Motions for Service by Publication upon
Defendants, Prithvi Info. Solutions, LTD., ECF No. 11 (hereinafter, “Pl.’s Mot., ECF No. 11”),
and Madhavi Vuppalapati and Anandhan Jayaraman (hereinafter, “Individual Defendants”), ECF
No.13 (hereinafter, “PI.’s Mot., ECF No. 13”). For the reasons set forth below, Plaintiffs’ Motions
are hereby GRANTED IN PART and DENIED IN PART.

A. Plaintiffs’ Efforts to Effectuate Service Upon Prithvi Info. Solutions, LTD.

Plaintiffs seek an order authorizing them to serve Defendant Prithvi Info Solutions, LTD
(“PISL”) by publication in Pittsburgh, Pennsylvania through the Pittsburgh Legal Journal and the
Pittsburgh Post-Gazette. They also seek leave to serve PISL via regular mail to its registered
office in Pittsburgh and by publication in India through two newspapers, NavaTelangana and The
Hindu. See P\.’s Mot., ECF No. 11.

Plaintiffs allege that PISL is an Indian corporation that is registered to do business in
Pennsylvania and that it lists a registered address in Pittsburgh. Plaintiffs represent that PISL has
not appointed a registered agent to accept service in the Commonwealth. According to Plaintiffs’

Motion, their process server made three separate attempts to serve the Summons and Complaint at
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PISL’s registered address, but each time the building was locked. The process server posted a
copy of the Summons and Complaint on the door of the address, but Plaintiffs were never contacted
by anybody on PISL’s behalf. See Pl.’s Mot. 9§ 3-4, ECF No. 11. Additionally, Plaintiffs
attempted to serve PISL at its registered offices in India through registered mail.! Service was not
effectuated and the package was returned with a remark of “addressee left.” See Pl.’s Mot. § 5,
ECF No. 11. Plaintiffs represent to this Court that they also “attempted to locate PISL by
reviewing documentation and talking to third-parties.” See Pl.’s Mot. § 6, ECF No. 11.

B. Plaintiffs’ Efforts to Effectuate Service Upon the Individual Defendants

Individual Defendants Vuppalapati and Jayaraman are alleged to be a married couple who
reside in the area of Hyderabad, India. Plaintiffs attempted to serve them at their last known
address. As with PISL, Plaintiffs’ attempts at service were returned with the notation, “addressee
left.” Plaintiffs further allege that, although Individual Defendants could not be served at their
last-known physical address, they have communicated with Plaintiffs via email, maintain
communication with their India-based attorneys, and that Defendant Vuppalapati maintains an
active LinkedIn account. Plaintiffs aver that Individual Defendants are aware of this action and
are intentionally avoiding service. Indeed, Defendant Vuppalapati has fled the United States to
avoid prosecution on a multi-count indictment in the United States District Court for the Western
District of Washington. See Pl.’s Mot. 9§ 2-14, ECF No. 13.

Plaintiffs ask this Court to enter an order authoring service upon Individual Defendants by
publication in NavaTelanana and the Times of India newspapers. They also seek permission to

serve Individual Defendants via email and (as to Defendant Vuppalapati) through an email to the

 

' Plaintiffs’ Motion warrants that their efforts to serve PISL in India comported with the

requirements of Indian law.
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LinkedIn account and by mail at the offices of Individual Defendants’ India-based attorneys. See
Pl.’s Mot., ECF No. 13.

C. Analysis

Service of process is governed by Fed. R. Civ. P. 4. Rule 4(h), which controls service upon
a corporation, partnership or association. See Fed. R. Civ. P. 4(h). To the extent that a corporate
defendant cannot be served by delivering a copy of the summons to an officer, agent or designated
‘agent for service, the defendant may be served by the means permitted for service upon an
individual. Rule 4(e) governs service upon individuals within a Judicial District of the United
States. See Fed. R. Civ. P. 4(e). Because the Individual Defendants are purportedly located in
India, Rule 4(f), is also implicated by Plaintiffs’ Motions. See Fed. R. Civ. P. 4(f).

Instantly, Plaintiffs aver that they have attempted to effectuate service in this
Commonwealth upon PISL, but were unable to do so because it has not designated a registered
agent for service and, despite multiple attempts, they were unable to contact anybody at PISL’s
purported registered address in Pittsburgh. Plaintiffs aver that they attempted to serve PISL’s
offices in India, as well as Individual Defendants, through registered mail (consistent with Indian
law) but that their attempts failed. Because their efforts at service under the ordinary means have
not been successful, Plaintiffs seek an order permitting alternative service. See Pl.’s Mot., ECF
No. 11; see also Pl.’s Mot., ECF No. 13.

This Court may authorize alternative service to the extent that it would be available under
the law of the Commonwealth of Pennsylvania. See Fed. R. Civ. P. 4(e)(1) (permitting service by
following state law in the state where the district court is located). Under Pennsylvania law, a
plaintiff may serve an individual defendant outside the Commonwealth:

(1) by personal service, as provided in Pennsylvania Rule 402(a);

(2) by mail, as provided in Pennsylvania Rule 403; and

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(3) as permitted by the law of the jurisdiction in which service is to be made.

See Pa. R. Civ. P. 404(1)-(3). If, however, “service cannot be made” outside the Commonwealth
pursuant to the methods set forth in Pennsylvania Rule 404(1)-(3), a plaintiff “may move the court
for a special order directing the method of service.” See Pa. R. Civ. P. 430(a) (emphasis added);
Calabro v. Leiner, 464 F. Supp. 2d 470, 472 (E.D. Pa. 2006) (“Alternative service is only
appropriate when service ‘cannot be made’ under the applicable [Pennsylvania Rule].’’) (citation
omitted). Pennsylvania law views service by publication as “an extraordinary measure and great
pains should be taken to ensure that the defendant will receive actual notice of the action against
him.” Fusco v. Hill Fin. Sav. Ass’n, 683 A.2d 677, 680 (Pa. Super. 1996). Consequently, a motion
for alternative service in Pennsylvania “shall be accompanied by an affidavit stating the nature
and extent of the investigation [that] has been made to determine the whereabouts of the defendant
and the reasons why service cannot be made.” Pa. R. Civ. P. 403(a) (emphasis added).

Under Pennsylvania law, a plaintiff must meet three conditions for alternative service.
McFadden v. Weiss, No. 13-2914, 2014 WL 5880097, at *2 (E.D. Pa. Nov. 13, 2014) (citing
Calabro, 464 F. Supp. 2d at 471-72). First, a plaintiff “must make a ‘good faith’ effort to locate
the defendant.” Calabro, 464 F. Supp. 2d at 472 (citation omitted) (emphasis in original). Good
faith efforts can include inquiries to postal authorities, inquiries of relatives, neighbors, friends,
and employers of Defendants, examinations of local telephone directories, voter registration
records, local tax records, and motor vehicle records. See Pa. R. Civ. P. 43 O(a). “It is not necessary
that [the plaintiff] pursue every method listed in ...[Pennsylvania] Rule 430(a) ... to satisfy the
good faith effort requirement.” Calabro, 464 F. Supp. 2d at 472 & n.4 (citation omitted). Second,
“once [the defendant] is located, [the plaintiff] must show that she has made practical efforts to

serve [the defendant] under the circumstances,” but has been unable to do so. Jd. (citing Clayman
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v. Jung, 173 F.R.D. 138, 140-42 (E.D. Pa. 1997)) (emphasis in original). “[A] [p]laintiff bears the
burden to show that these efforts were made.” McFadden, 2014 WL 5880097, at *4. Third,
assuming a plaintiff “satisfied the first two steps, [a plaintiffs] proposed alternate means of service
must be reasonably calculated to provide [the defendant] with notice of the proceedings against
him [or her].” Calabro, 464 F. Supp. 2d at 472 (citation omitted). See also Kittanning Coal Co. y
Int'l Mining Co., 551 F. Supp. 834, 838 (W.D. Pa. 1982)) (plaintiffs made the prerequisite “good
faith effort” to locate the defendant; and, based upon the information presently available,
publication in the stipulated newspapers was “reasonably calculated” to convey the required
notice). As the court in Calabro noted:

Service of process is not a mere technicality. Rather, constitutional due process

requires that service of process be “reasonably calculated, under all circumstances,

to apprise interested parties of the pendency of the action and afford them an

opportunity to present their objections.”

Id. (quoting Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)).

The Court finds that Plaintiffs have satisfied the first and second prongs of Pennsylvania’s
requirement for the authorization of service by publication. They have undertaken multiple
attempts to locate and serve PISL and Individual Defendants, both a Pennsylvania and in India.
Moreover, they have asserted that Individual Defendants have actual knowledge of this action, but
are actively seeking to avoid service.

Plaintiffs have not satisfied the third, “reasonably calculated to convey notice,” prong for
service by publication in Pittsburgh-based newspapers (i.e., the Pittsburgh Legal Journal and the
Pittsburgh Post-Gazette). Publication in any Pittsburgh newspaper or journal is not reasonably
calculated to convey the required notice either to PISL or to Individual Defendants. In Plaintiffs’

motion, they state each time the process server visited the purported-Pittsburgh office of PISR, the

“building was locked.” See Pls.’ Mot. § 4, ECF No. 11. Additionally, the process server posted
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the summons and complaint on the door of the office, and “[n]obody at PISL contacted Plaintiffs
after the Summons and Complaint were posted.” See Pls.’ Mot. ¢ 4, ECF No. 11. In light of the
context of the assertions made by Plaintiffs, it is possible, if not likely, that PIRL no longer
maintains any presence in Pittsburgh or its environs. Therefore, providing notice in a Pittsburgh
newspaper or journal is not reasonably calculated to provide the notice required under the
principles of due process. Moreover, Plaintiffs aver that the Individual Defendants do not reside
in Pittsburgh, but are located in India. See Pls.’ Mot. §§ 4-7, ECF No. 13. Plaintiffs cannot
reasonably maintain that service by publication in Pittsburgh is reasonably likely to convey notice
of this action to the Individual Defendants. Thus, this Court will deny Plaintiffs’ attempt to serve
PISL or the Individual Defendants by publication in Pittsburgh.

Plaintiffs also seek service by publication in India upon both PISL and the Individual
Defendants. See Pls.’ Mot., ECF No. 11; see also See Pls.’ Mot., ECF No. 13. The Court believes
that such service is adequate and comports with the requirements of due process. Service abroad
is permitted under Fed. R. Civ. P. 4(£)(3), upon either a corporation or an individual not within any
judicial district of the United States,” by “other means not prohibited by international agreement,
as the court orders.” India is a “Contracting Party” to the Hague Convention.2 The Convention
provides that it “shall apply in all cases, in civil and commercial matters, where there is occasion

to transmit a judicial or extrajudicial document for service abroad.” Hague Convention Art. 1, § 1.

 

* Rule 4(f) only addresses serving an individual in a foreign country. See Fed. R. Civ. P. 4(f).
Rule 4(h)(2), service of a foreign corporation, permits service “in any manner prescribed by Rule
4(f) for serving an individual, except personal delivery under (f)(2)(C)(i).” See Fed. R. Civ. P.

4(h)(2).

> The Hague Convention is a multilateral treaty that was designed to supply a simple way to serve
process abroad, assure that foreign defendants receive actual and timely notice of suit, and facilitate
proof of service. Volkswagenwerk Aktiengesellschaft v. Schlunk, 486 U.S. 694, 698 (1988).

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Because Defendants are located in India, the Hague Convention dictates that service may be made
in accordance with the provisions of the Convention upon a central authority, or in a method not
objected to by the receiving state and otherwise permitted by law. See, e.g., Water Splash, Inc. v.
Menon, 137 S. Ct. 1504, 1508 (2017) (discussing establishment of central authority in each state
to receive requests for services of documents from other states). Although India objects to all
forms of alternative service under Article 10 of the Hague Convention,‘ the Hague Convention, by
its own terms, “shall not apply where the address of the person to be served with the document is
not known.” Hague Convention Art. 1, 2. In this case, the Hague Convention does not apply
because the addresses of Defendants are unknown.

If the Hague Convention does not apply, the Court is only bound by the due process
requirement for alternative service. Due process under Rule 4(f)(3) requires that notice be
“reasonably calculated, under all the circumstances, to apprise interested parties of the pendency
of the action and afford them an opportunity to present their objections. [ ] The notice must be of
such nature as reasonably to convey the required information, and it must afford a reasonable time
for those interested to make their appearance.” Mullane v. Cent. Hanover Bank & Trust Co., 339
US. 306, 314 (1950) (internal citations omitted). The Third Circuit has found service by
publication to be a reasonable alternative method of service abroad to provide notice comporting
with due process. See Braverman Kaskey, P.C. v. Toidze, 599 Fed. Appx. 448, 453 (3d Cir. 2015)
(holding service by publication was proper when effectuated at last known address, after

reasonable attempts to locate, and authorized by Canadian law).

 

* See https://www.hcch.net/en/states/authorities/details3/?aid=712. Service of process in India
under the Hague Convention is achieved through the central authority.

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Plaintiffs have provided evidence to support the position that PISL is located in India.5
According to the declarations, PISL has a registered office in Hyderabad, India. See Pls.’ Mot. at
Exhibit C 2, ECF No. 11. On October 20, 2018, Plaintiffs attempted to serve PISL in accordance
with Indian law, and the attempt was returned undelivered with the remark “Addressee Left.” See
id. at {{] 3-4. Plaintiffs’ declaration states they have not been able to locate where PISL is now
conducting business operations. See id. at J§ 5-6. Thus, the address is unknown. See id.

Similarly, the addresses of the Individual Defendants are unknown. See Pls.’ Mot. at
Exhibit C { 7, ECF No. 13. According to Plaintiffs’ declaration, Plaintiffs had two known
addresses for these individuals. See id. at { 2. Both of the addresses were in Hyderabad,
Telangana, India. See id. Plaintiffs hired a private investigator based in India to confirm these
addresses. See id. at ] 3. The investigator was unable to confirm the addresses. See id. at q 4.
Plaintiffs attempted service at these addresses under Indian law, and the attempt was undelivered
with the remark “Addressee Left.” See id. at ¥ 5.

Service by publication is appropriate in this case to provide reasonably calculated notice
of the pending suit. The Defendants against who service by publication is sought are all citizens
of India. Plaintiffs have attempted to effectuate service through the proper channels in India to no
avail. After a diligent search of Indian law, there appears to be no rule prohibiting service by
publication. The New Dehli High Court released rules stating service by publication is a
discretionary function that is “frequently exercised by Courts by publication in one or more

newspapers of a notice calling upon the defendant to appear.” New Dehli High Court, Chapter 7:

 

> The Plaintiffs have attached two declarations from J ayendra Joshi, a lawyer practicing in India,
in support of the motions. See Pls.’ Mot. Exhibit C, ECF No. 11; see also Pls.’ Mot. Exhibit C,
ECF No. 13.
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Processes---Civil Courts, Part B(a)(4).° Further, this Court has previously granted a motion for
service by publication upon a believed to be Indian resident. See Wotring v. Sarla-Synapse Tech,

Inc., 2009 WL 1506898, at *1 (W.D. Pa. May 12, 2009) (Lancaster, J.). Therefore, service by
publication may be accomplished by publishing in the NavaTelangana, The Hindu, and Times of
India publications.’

Plaintiffs’ motion, ECF No. 13, specifically in regard to Ms. Vuppalapati and Mr.
Jayaraman, also seeks to effectuate service via email.* Service by publication, coupled with email
as a supplemental form of providing notice, has also been held to be in accordance with due
process. See e.g., Braverman Kaskey, P.C., 2013 WL 6095679, at *4 (E.D. Pa. Nov. 19, 2013)
(finding service by publication with email as a supplemental form of providing notice was
comports with constitutional due process); Gurung v. Malhotra, 279 F.R.D. 215 (S.D.N.Y. 201 1)
(holding court-ordered alternative service upon a resident of India via publication and email
complied with due process). The Court is not aware of any Indian law prohibiting service via
email as a supplement to publication. Thus, service upon Ms. Vuppalapati and Mr. Jayaraman

shall be supplemented by email.

 

° The New Dehli High Court notes that this should be taken as a last resort to provide notice. Jd.

’ Plaintiffs’ declarant, Jayendra Joshi, states these publications are Indian newspapers of wide
circulation, covering the Telangana and Hyderabad areas, that publish, among other things, legal
matters. See Pls.’ Mot. at Exhibit. C § 7, ECF No. 11; see also Pls.’ Mot. at Exhibit C § 7, ECF
No. 13.

* Plaintiffs also attach a declaration by Kyko Global president, Kiran Kulkarni. See Pls.’ Mot.
Exhibit B, ECF No. 13. Mr. Kulkarni states that he has communicated with Ms. Vuppalapati, her
brother, Mr. Satish Vuppalapati, and Mr. Jayaraman, routinely via email in the past. See id. at q
4. The declaration goes on to state his email records show that the emails to the accounts listed
have been received, and that he received a response from Satish, speaking on his sister’s behalf,
as recently as November 16, 2018. See id. at §§ 7-8.

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Accordingly, IT IS HEREBY ORDERED, that Plaintiffs’ Motion for Service by
Publication, ECF No. 11, regarding defendant Prithvi Info. Solutions, LTD., is hereby GRANTED
IN PART and DENIED IN PART. Plaintiffs shall effectuate service via publication in the
following Indian publications: NavaTelangana and The Hindu. |

IT IS FUTHER ORDERED that Plaintiffs’ Motion for Service by Publication, ECF No.
13, regarding Ms. Vuppalapati and Mr. Jayaraman, is hereby GRANTED IN PART and DENIED
IN PART. Plaintiffs shall effectuate service via publication in the following Indian publications:
NavaTelangana and Times of India. Plaintiffs shall supplement service with an email to the
following email addresses: Madhavi@prithvisolutions.com, Vuppalapatis@gmail.com,

Satish@prithvisolutions.com, Vuppalapatim@gmail.com, and ajayaraman@gmail.com.

 

BY THE COURT:
bagk 5. 22'7 Qhu S KO
Date WILLIAM S. STICKMAN, IV

UNITED STATES DISTRICT JUDGE

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